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                             UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

   BRIAN BANKOSZ,

                           Plaintiff,

   v.                                                    Case No: 6:15-cv-1182-Orl-31KRS

   MANASSEH JORDAN
   MINISTRIES and YAKIM
   MANASSEH JORDAN,

                           Defendants.


                           ORDER OF DISMISSAL WITH PREJUDICE
           Upon consideration of the Joint Stipulation of Dismissal (Doc. 44), and pursuant to

   Fed. R. Civ. P. 41(a), it is hereby

           ORDERED that this case is dismissed with prejudice, each party to bear its own fees

   and costs. Any pending motions are DENIED as moot. The Clerk is directed to close this

   file.

           DONE and ORDERED in Chambers in Orlando, Florida on July 28, 2016.




                                                                                                  

   Copies furnished to:

   Counsel of Record
   Unrepresented Parties
